         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 1 of 25




Wm. Breck Seiniger, Jr. (I.S.B. No. 2387)
SEINIGER LAW
942 Myrtle Street
Boise, Idaho 83702
Voice: (208) 345-1000
Fax: (208) 345-4700
Email: wbs@seinigerlaw.com

Attorney for Plaintiff

         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO


 Tyrell Curtis Erlebach,                                            Case No. 1:18-cv-173

                 Plaintiff,
                                                                    COMPLAINT AND
         vs.                                                        DEMAND FOR JURY
                                                                    TRIAL
 RAJ Enterprises of Central Florida, LLC d.b.a. Pinnacle
 Laboratories d.b.a. Pinnacle Laboratory Services d.b.a.
 Pinnacle Labs, Millennium Health, LLC, Mills Brinson III
 BSMT, CLD, Alisha L. Phillips, K & K Treatment, Rostad
 GPS & Monitoring Services, LLC, Kim Rostad, d.b.a. K & K
 Treatment, K & K Bail Bonds LLC d.b.a. K & K Treatment,
 Dennis Stokes in his individual and official capacities, Payette
 County, Payette County Sheriff’s Office, Payette County
 Sheriff Chad Huff in his individual and official capacities, ,
 Payette County Board of Commissioners, Payette County
 Commissioner Mark Shigeta in his individual and official
 capacities, Payette County Commissioner Larry Church in his
 individual and official capacities, Payette County Commissioner
 Carol Bruce in her individual and official capacities, Payette
 County Commissioner Georgia Hanigan in her individual and
 official capacities, Anne Marie Kelso, Scott Laney, and Joseph
 Johnson, and John Does I through XXX, whose true identities
 are unknown,

                 Defendants.


       Comes now Plaintiff Tyrell Curtis Erlebach, by and through counsel, and states the

following claims against Defendants:


                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 1
          Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 2 of 25



     I.    PARTIES

1.   Plaintiff Tyrell Curtis Erlebach (“Plaintiff Tyrell Curtis Erlebach”) is a resident of Ontario,

     Oregon.

2.   Defendant RAJ Enterprises of Central Florida, LLC d.b.a. Pinnacle Laboratories d.b.a.

     Pinnacle Laboratory Services d.b.a. Pinnacle Labs (hereafter “Pinnacle Laboratory

     Services”), is a limited liability corporation headquartered in and residing within the state

     of Florida. At all times relevant herein doing business in the state of Idaho

3.   Defendant Millennium Health, LLC, is a limited liability corporation headquartered and

     residing within in San Diego, California and, at all relevant times herein, was doing

     business within the state of Idaho.

4.   Defendant Mills Brinson III BSMT, CLD, was the “Lab Director” of Pinnacle Laboratory

     Services at all relevant times herein. Upon information and belief, Defendant Mills

     Brinson III BSMT, CLD, is a resident of the state of Florida.

5.   Defendant Dennis Stokes is and employee of Payette County and is a resident of the state

     of Idaho.

6.   Defendant Payette County is a political subdivision of the state of Idaho.

7.   Defendant Payette County Commissioner Mark Shigeta is an elected official of Payette

     County and at all times relevant herein was one of the chief policymakers of Payette

     County. This Defendant is a resident of the state of Idaho.

8.   Defendant Payette County Commissioner Larry Church is an elected official of Payette

     County and at all times relevant herein was one of the chief policymakers of Payette

     County. This Defendant is a resident of the state of Idaho.


                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 2
          Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 3 of 25



9.    Defendant Payette County Commissioner Carol Bruce is an elected official of Payette

      County and at all times relevant herein was one of the chief policymakers of Payette

      County. This Defendant is a resident of the state of Idaho.

10.   Defendant Payette County Commissioner Georgia Hanigan is an elected official of Payette

      County and at all times relevant herein was one of the chief policymakers of Payette

      County. This Defendant is a resident of the state of Idaho.

11.   Defendant Payette County Sheriff’s Office is a department of Defendant Payette County.

12.   Defendant Payette County Sheriff Chad Huff is an elected official of Payette County and at

      all times relevant herein was the chief policymaker of the Payette County Sheriff’s

      Department. This Defendant is a resident of the state of Idaho.

13.   Defendant Scott Laney is a representative of Defendant Millennium Health, LLC and/or

      Defendant Pinnacle Laboratory Services. Defendant Scott Laney is a resident of the state

      of Idaho.

14.   Defendant Joseph Johnson is a representative of Defendant Millennium Health, LLC and/or

      Defendant Pinnacle Laboratory Services. Defendant Joseph Johnson is a resident of the

      state of Idaho.

15.   Alisha L. Phillips is a resident of the state of Idaho.

16.   Rostad GPS & Monitoring Services, LLC is an Idaho limited liability corporation at all

      relevant times herein doing business in the State of Idaho.

17.   K & K Treatment is a business headquartered and operating in the state of Idaho.

18.   Kim Rostad, d.b.a. K & K Treatment is an individual who is a resident of the state of

      Idaho.


                                         COMPLAINT AND DEMAND FOR JURY TRIAL - 3
            Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 4 of 25



19.   K & K Bail Bonds LLC d.b.a. K & K Treatment is an Idaho limited liability corporation

      resident and doing business in the state of Idaho.

20.   Upon information and belief, Kim Rostad and/or K & K Bail Bonds and/or Rostad GPS &

      Monitoring Services, LLC did business as K & K Treatment. The contracts of which

      Plaintiff is presently aware appear to be between K & K Treatment and Defendant

      Millennium Health LLC and Defendant Pinnacle Laboratory Services. Therefore, Kim

      Rostad, K & K Bail Bonds LLC, and K & K Treatment are referred to hereafter

      collectively as K & K Treatment.

21.   John Does I through X, whose true identities are unknown, are individuals or entities that

      are the parents, subsidiaries, owners, agents, or representatives of the business entities

      named herein as Defendants.

22.   John Does XI through XX, whose true identities are unknown, are individuals who are the

      employees, agents, or representatives of the governmental entities named herein as

      Defendants.

23.   John Does XXI through XXX, whose true identities are unknown, are other individuals or

      entities are responsible for the damages of the Plaintiff’s alleged herein.

24.   All agents, employees and officials of the governmental Defendants are sued in their

      individual and official capacities.

      II.    JURISDICTION AND VENUE

25.   Venue is proper in the United States District of Idaho pursuant to 28 U.S. Code §

      1391(b)(1) and (2) because numerous Defendants reside in the state of Idaho and the acts

      and omissions which form the basis of this complaint occurred in Idaho.



                                            COMPLAINT AND DEMAND FOR JURY TRIAL - 4
             Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 5 of 25



26.    This Court has subject matter jurisdiction based on diversity of citizenship pursuant to

       United States Constitution, in Article III, § 2 and 28 U.S.C. § 1332. The amount in

       controversy exceeds $75,000, the jurisdictional requirement of 28 U.S.C. § 1332(b).

       Plaintiff Tyrell Curtis Erlebach is a resident of Ontario, Oregon and is a citizen and resident

       of the State of Oregon. All individual Defendants are residents of and domiciled in the

       state of Idaho. All governmental Defendants are municipalities of the state of Idaho or

       subdivisions of the state of Idaho. All corporate Defendants are incorporated and have

       their principal place of business in Florida, California, states other than Idaho. The

       constituent partners/members of all corporate Defendants reside in states other than Idaho.

27.    This Court has subject matter jurisdiction based upon federal questions presented under 42

       U.S.C. §1983 pursuant to United States Constitution, in Article III and 28 U.S.C. § 1331.

28.    Pursuant to 28 U.S.C. § 1367, this Court has pendent jurisdiction over the state law claims

       presented herein because there is a common nucleus of operative facts giving rise to both

       the state and federal claims.

29.    Prior to commencement of this action, Plaintiff Tyrell Curtis Erlebach served a timely

       Notice of Tort Claim on Defendant Payette County in accordance with the requirements of

       Chapter 9, Title 6, Idaho Code.

      III.    FACTUAL BACKGROUND

30.    Prior to the events that give rise to Plaintiff Tyrell Curtis Erlebach’s claims against

       Defendants, he was an individual in his early 30s with no criminal history who was a

       licensed physician’s assistant in the state of Idaho specializing in providing physician’s

       assistant services in cardiac surgery.




                                          COMPLAINT AND DEMAND FOR JURY TRIAL - 5
          Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 6 of 25



31.   Plaintiff Tyrell Curtis Erlebach was charged in connection with a domestic disturbance in

      State v. Erlebach, Payette County Case Number CR 2016-0154.

32.   Plaintiff Tyrell Curtis Erlebach was released on bail. A condition of his release was that he

      submit to random drug and alcohol testing.

33.   Random drug and alcohol testing of Plaintiff Tyrell Curtis Erlebach was arranged by K &

      K Treatment.

34.   K & K Treatment contracted with Defendant Pinnacle Laboratory Services and Defendant

      Millennium Health LLC for those entities to analyze and report on random urine/drug tests

      administered to its clients, including Plaintiff Tyrell Curtis Erlebach. See, Exhibits 1 and 2

      attached hereto.

35.   K & K Treatment was a client of Defendant Millennium Health LLC, as evidenced by a

      New Client Registration form dated April 2, 2015.

36.   K & K Treatment was a client of Defendant Pinnacle Laboratory Services, and as

      evidenced by the report of Pinnacle Laboratory Services dated April 18, 2016 (the Pinnacle

      Laboratory Services Report) confirming the results of testing done on Plaintiff Tyrell

      Curtis Erlebach of the sample collected on April 14, 2016.

37.   Both documents referenced in paragraphs 35 and 36 above list the health care provider

      ordering the testing as Alisha Phillips, FNP.

38.   On or about April 14, 2016, Plaintiff Tyrell Curtis Erlebach was notified that he was to go

      to K & K Treatment and provide a urine sample. He did so.

39.   Plaintiff Tyrell Curtis Erlebach’s urine sample was sent to and evaluated by a company

      doing business under the name Pinnacle Laboratory Services.


                                        COMPLAINT AND DEMAND FOR JURY TRIAL - 6
          Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 7 of 25



40.   On April 18, 2016, a report was sent to K&K Treatment indicating a “positive” result with

      respect to the metabolites of Ethel Alcohol. See Exhibit 2 attached hereto.

41.   The result was a false “positive” or otherwise unreliable.

42.   April 24, 2016, Willamette Valley Forensics consultant Ken MeNeely, a chemist and a

      board-certified ASCLD/LAB (American Society of Crime Lab Directors/Laboratory

      Accreditation Board) issued a report of his review of Pinnacle Laboratory Services analysis

      and April 18, 2016 report that they were not scientifically reliable concluding with

      scientific certainty that (1) the cutoff level utilized by Pinnacle Laboratory was

      inappropriate to use as a tool to evaluate alcohol consumption because it could have led to

      misinterpretation, (2) Pinnacle Laboratory did not report an error rate as commonly done

      by accredited laboratories, (3) the "corrected values" of 67.2 and 22.3 for EtG and EtS

      represents trace levels of alcohol, (4) those "levels" also represent values below the

      laboratory's instrument capabilities to produce credible results, (5) the chemical products

      utilized will produce trace levels of EtG and EtS, (6) the reported levels are consistent with

      the association/contact with chemicals contained in commercial products used by Plaintiff

      Tyrell Curtis Erlebach such as laundry detergent and vitamins which can be absorbed either

      through dermal tissues or inhalation and can be misinterpreted as alcohol ingestion

      resulting in a false positive, (7) that, at a minimum, 500 ng/ml or higher must be used for

      positive cut-off values for EtG and EtS levels to eliminate false positive interpretations, and

      (8) that laboratory reports must be interpreted by a qualified medical individual or

      toxicologist which Tyrell Curtis Erlebach’s urine sample was not. See, Exhibit 3 attached

      hereto.




                                        COMPLAINT AND DEMAND FOR JURY TRIAL - 7
          Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 8 of 25



43.   The false positive was a result of unreliable and/or faulty analysis of Plaintiff Tyrell Curtis

      Erlebach’s urine sample. The report also failed to include important information

      concerning aspects of the analysis that made the “positive” finding unreliable.

44.   It is well known in the scientific community that drug/urine testing must be carefully

      administered, analyzed and reported and the administration and analysis of such tests must

      comply with applicable scientific standards because of the risk of false positives which

      cannot, amongst other things, result in injury to the reputation, freedom and liberty interests

      of those tested.

45.   Alisha Phillips, FNP, was the authorized healthcare provider specified by K & K Treatment

      on its contracts with Defendant Pinnacle Laboratory Services and Defendant Millennium

      Health LLC.

46.   Plaintiff Tyrell Curtis Erlebach contacted Defendant Pinnacle Laboratory Services and

      advised them that he believed the results of their analysis were unreliable and incorrect.

47.   On or about April 28, 2016, Defendant Pinnacle Laboratory Services issued an amended

      report, reporting the same test results but containing the following comment:

               FINAL REPORT- 5/10/2016
               Negative Ethyl Alcohol results recovered by EIA screening. Positive ETG and
               ETS (ethanol metabolites) results were recovered indicating exposure to Ethyl
               Alcohol within the past 72 hours. ETG and ETS results are to be considered non-
               forensic testing, for medical purposes only. Positive results may indicate
               ingestion of, or exposure to Ethyl Alcohol within the past 72 hours. The results
               will not be differentiated between Ethyl Alcohol consumed from medications
               (over-the-counter cold or cough formulas) or from other sources. Positive ETG
               and ETS results may also indicate recent skin exposure to alcohol-containing
               hand sanitizers and/or disinfectants. Under certain conditions, ETG may also be
               produced in vitro (outside of the body in the sample container) by certain bacteria
               which may be present in the unit urine sample.




                                        COMPLAINT AND DEMAND FOR JURY TRIAL - 8
          Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 9 of 25



48.   Defendant Pinnacle Laboratory Services failed to take appropriate steps to make sure that

      they took whatever steps were necessary to collect, safeguard, protect and ship the urine

      samples from Plaintiff Tyrell Curtis Erlebach.

49.   Defendant Pinnacle Laboratory Services failed to take appropriate steps to make sure that

      Alisha Phillips, FNP, appropriately authorized and reviewed the reports of urine samples

      from Plaintiff Tyrell Curtis Erlebach.

50.   Defendant Pinnacle Laboratory Services failed to take appropriate steps to make sure that

      the report that it issued (Exhibit 1) contained necessary warnings caveats information so

      that an individual reading the report would understand that it could not be relied upon for

      forensic purposes and that it might not be accurate. See, Exhibit 3 attached hereto.

51.   These failures resulted in a false positive been reported to the Payette County District

      Court, as a result of which Plaintiff Tyrell Curtis Erlebach was wrongfully arrested,

      incarcerated, and sustained financial losses.

52.   It appears that the failure of Alisha Phillips, FNP to require the submission of reports to her

      regarding urine drug testing which she had agreed to authorize and monitor, and her failure

      to review the attached reports for accuracy, and her failure to advise law enforcement and

      the courts of the unreliability of the report for forensic purposes may have been the result

      of Defendant Pinnacle Laboratory Services reckless or intentional failure to provide her

      with a copy of the report.

53.   However, if these failures were not attributable to Defendant Pinnacle Laboratory Services,

      and if these reports were provided to her, but she nevertheless failed to meet the applicable

      standard of care regarding the analysis, interpretation, and reporting concerning these




                                        COMPLAINT AND DEMAND FOR JURY TRIAL - 9
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 10 of 25



      reports, then she was negligent and is responsible for Plaintiff Tyrell Curtis Erlebach’s

      damages.

54.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon Defendant Pinnacle Laboratory Services and/or Defendant

      Millennium Health, LLC to take all actions necessary to ensure that the urine samples

      provided by Plaintiff Tyrell Curtis Erlebach and other similarly situated individuals were

      analyzed in conformity with scientifically reliable testing and reporting procedures and

      methodologies.

55.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon Defendant Pinnacle Laboratory Services and/or Defendant

      Millennium Health, LLC to take all actions necessary to ensure that the urine samples

      provided by Plaintiff Tyrell Curtis Erlebach and other similarly situated individuals were

      reported in conformity with scientifically reliable testing and reporting procedures and

      methodologies.

56.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon the representations of Defendant Pinnacle Laboratory Services

      and/or Defendant Millennium Health, LLC that those Defendants understood the

      implications of a failure of those Defendants to ensure that the urine samples provided by

      Plaintiff Tyrell Curtis Erlebach and other similarly situated individuals were analyzed in

      conformity with scientifically reliable testing and reporting procedures and methodologies.

57.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon the representations of Defendant Pinnacle Laboratory Services

      and/or Defendant Millennium Health, LLC that those Defendants would accurately analyze


                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 10
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 11 of 25



      and report the urine samples provided by Plaintiff Tyrell Curtis Erlebach and other

      similarly situated individuals in conformity with scientifically reliable testing and reporting

      procedures and methodologies.

58.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon the representations of Defendant Pinnacle Laboratory Services

      and/or Defendant Millennium Health, LLC that those Defendants understood that the

      freedom, liberty, and employability of by Plaintiff Tyrell Curtis Erlebach and other

      similarly situated individuals could be adversely affected by false-positive test results

      arising out of the negligent analysis and reporting of urine samples.

59.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon the representations of Defendant Pinnacle Laboratory Services

      and/or Defendant Millennium Health, LLC that those Defendants understood that the

      freedom, liberty, and employability of by Plaintiff Tyrell Curtis Erlebach and other

      similarly situated individuals could be adversely affected by reporting procedures

      indicating positive test results of the analysis of urine samples in cases in which the results

      of such testing deemed or described as “positive” by said Defendants were based upon

      levels of substances in the urine of Plaintiff Tyrell Curtis Erlebach and other similarly

      situated individuals which might be attributable to absorption of substances through the

      skin or by inhalation.

60.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon the representations of Defendant Pinnacle Laboratory Services

      and/or Defendant Millennium Health, LLC that those Defendants understood that the

      freedom, liberty, and employability of by Plaintiff Tyrell Curtis Erlebach and other


                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 11
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 12 of 25



      similarly situated individuals could be adversely affected by the failure to include in its

      reports plain and conspicuous caveats warning that “positive” test results of the analysis of

      urine samples may have been based upon levels of substances in the urine of Plaintiff

      Tyrell Curtis Erlebach and other similarly situated individuals which might be attributable

      to absorption of substances through the skin or by inhalation.

61.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon the representations of Defendant Pinnacle Laboratory Services

      and/or Defendant Millennium Health, LLC that those Defendants understood the obligation

      of laboratories testing urine samples provided by Plaintiff Tyrell Curtis Erlebach and other

      similarly situated individuals to the extent necessary to protect the rights and liberty

      interests of Plaintiff Tyrell Curtis Erlebach and other similarly situated individuals.

62.   Upon information and belief, Alisha Phillips, FNP and K & K Treatment reasonably and

      justifiably relied upon Defendant Pinnacle Laboratory Services and/or Defendant

      Millennium Health, LLC to protect the rights and liberty interests of Plaintiff Tyrell Curtis

      Erlebach and other similarly situated individuals to the extent that the services provided by

      Defendant Pinnacle Laboratory Services and/or Defendant Millennium Health, LLC could

      foreseeably impact those rights and interests.

63.   The Pinnacle Laboratory Services Report lists the “Test Outcome” for all drugs as

      negative.

64.   The Pinnacle Laboratory Services Report lists the “Immunoassay Screen Report” for Ethyl

      Alcohol as negative.




                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 12
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 13 of 25



65.   The Pinnacle Laboratory Services Report lists the “Test Outcome” for the metabolites of

      alcohol as “positive.”

66.   The Pinnacle Laboratory Services Report alcohol testing outcomes for the metabolites of

      alcohol were misleading to the extent that the report would foreseeably be reviewed by

      someone unsophisticated in interpreting reports of that nature.

67.   Pinnacle Laboratory Services had a duty to either make sure that its reports were being

      interpreted by individuals who would explain to governmental entities that a positive

      metabolite tested not necessarily mean that an individual had consumed Ethyl Alcohol, or

      that such reports contained caveats and warnings advising untrained individuals that a

      positive metabolite tested not necessarily mean that an individual had consumed Ethyl

      Alcohol.

68.   Measurements of Ethyl Sulfate and Ethyl Glucuronide are measurements of metabolites of

      Ethyl Alcohol.

69.   It is well known within scientific, law enforcement, and professional circles and well

      established scientifically that the metabolites of Ethyl Alcohol can be in the system of an

      individual as a result of exposure to Ethyl Alcohol resulting from dermal contact with Ethyl

      Alcohol and or inhalation of Ethyl Alcohol rather than consumption of Ethyl Alcohol.

70.   A generally accepted value for the measurement of the metabolites of Ethyl Alcohol

      indicative of the consumption of alcohol is approximately 500.

71.   The governmental defendants failed to adequately train and supervise their employees

      sufficiently so that they understood the level of metabolites of Ethyl Alcohol required to be

      indicative of the consumption of alcohol, as opposed to dermal or respiratory exposure to



                                      COMPLAINT AND DEMAND FOR JURY TRIAL - 13
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 14 of 25



      Ethyl Alcohol. The governmental defendants were deliberately indifferent to the need of

      their employees and agents to understand this basic fact in order to ensure that plaintiff

      Tyrell Curtis Erlebach and other similarly situated individuals were not wrongfully

      deprived of their liberty in violation of the 14th amendment of the United States

      Constitution.

72.   The Pinnacle Laboratory Services Report of levels of Ethyl Sulfate adjusted for hydration

      of 67.2 and Ethyl Glucuronide and 22.20 or so far below the generally accepted value for

      the measurement of metabolites indicative of alcohol consumption that it should have been

      obvious to all Defendants that they could not be relied upon to establish that Plaintiff Tyrell

      Curtis Erlebach had consumed alcohol in violation of the conditions of his relief.

73.   In fact, these levels are so low that they virtually established as a matter of fact that

      Plaintiff Tyrell Curtis Erlebach had not consumed alcohol during the past 72 hours.

74.   The governmental Defendants in this case knew, or in the exercise of reasonable care

      should have known that the levels of metabolites of Ethyl Alcohol reflected in the pinnacle

      laboratory services report were far below levels that could be relied upon as proof that

      Plaintiff Tyrell Curtis Erlebach had consumed alcohol.

75.   Nevertheless, the governmental and Defendant negligently, and/or recklessly, and or

      intentionally relied upon the Pinnacle Laboratory Services Report to prosecute Plaintiff

      Tyrell Curtis Erlebach for violating the conditions of his release.

76.   Defendant Pinnacle Laboratory Services and/or Defendant Millennium Health, LLC knew,

      or should have known, that to prevent against the misinterpretation of urine test outcomes




                                        COMPLAINT AND DEMAND FOR JURY TRIAL - 14
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 15 of 25



      the reports of such testing had to be reviewed by a qualified medical individual or

      toxicologist.

77.   Upon information and belief, Defendant Pinnacle Laboratory Services and/or Defendant

      Millennium Health, LLC knew, or should have known, that it was reporting positive drug

      urine screening outcomes as having been ordered and/or reviewed by Alisha Phillips, FNP,

      when in fact it was bypassing Alisha Phillips, FNP, who had neither ordered the drug/urine

      test that was the subject of the April 18, 2016 report nor reviewed it.

78.   The Pinnacle Laboratory Services Report lists the “test outcome” for alcohol testing was

      below the level at which the involved Defendant (believed to be the Payette County

      Sheriff’s Department and its agents) normally arrest an individual for violating the terms of

      their release on bond.

79.   Defendant Pinnacle Laboratory Services and/or Defendant Millennium Health, LLC were

      negligent in describing as “positive” levels of substances in the urine of Plaintiff Tyrell

      Curtis Erlebach and other similarly situated individuals which may have been attributable

      to absorption of substances through the skin or by inhalation.

80.   Defendant Pinnacle Laboratory Services and/or Defendant Millennium Health, LLC

      negligently failed to include in its reports plain and conspicuous caveats warning that

      “positive” test results of the analysis of urine samples may have been based upon levels of

      substances in the urine of Plaintiff Tyrell Curtis Erlebach and other similarly situated

      individuals which might be attributable to absorption of substances through the skin or by

      inhalation.




                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 15
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 16 of 25



81.   Plaintiff Tyrell Curtis Erlebach to retain the services of Willamette Valley Forensics

      consultant Ken MeNeely, a chemist and a board-certified ASCLD/LAB (American Society

      of Crime Lab Directors/Laboratory Accreditation Board) to review the pinnacle laboratory

      services report and its analysis of Plaintiff Tyrell Curtis Erlebach’s April 14, 2018 urine

      sample.

82.   Mr. MeNeely performed these services and found that the Pinnacle Laboratory Services

      Report was not scientifically reliable concluding with scientific certainty that (1) the cutoff

      level utilized by Pinnacle Laboratory was inappropriate to use as a tool to evaluate alcohol

      consumption because it could have led to misinterpretation, (2) Pinnacle Laboratory did not

      report an error rate as commonly done by accredited laboratories, (3) the "corrected values"

      of 67.2 and 22.3 for EtG and EtS represents trace levels of alcohol, (4) those "levels" also

      represent values below the laboratory's instrument capabilities to produce credible results,

      (5) the chemical products utilized will produce trace levels of EtG and EtS, (6) the reported

      levels are consistent with the association/contact with chemicals contained in commercial

      products used by Plaintiff Tyrell Curtis Erlebach such as laundry detergent and vitamins

      which can be absorbed either through dermal tissues or inhalation and can be

      misinterpreted as alcohol ingestion resulting in a false positive, (7) that, at a minimum, 500

      ng/ml or higher must be used for positive cut-off values for EtG and EtS levels to eliminate

      false positive interpretations, and (8) that laboratory reports must be interpreted by a

      qualified medical individual or toxicologist which if Tyrell Curtis Erlebach’s urine sample

      was not.

83.   Based upon the Pinnacle Laboratory Services Report, a failure to comply with court or

      affidavit was filed by Misdemeanor Probation Officer Dennis Stokes on April 19, 2016 in



                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 16
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 17 of 25



      State v. Erlebach, Payette County Case Number CR 2016-0154. This affidavit alleged that

      Plaintiff Tyrell Curtis Erlebach failed to comply with the conditions of his release and

      failed to abstain from drugs or alcohol unless prescribed by a physician is ordered by the

      (Payette County) court.

84.   Based upon the Pinnacle Laboratory Services Report, a bench warrant was issued on April

      20, 2016 for the arrest of Plaintiff Tyrell Curtis Erlebach.

85.   Based upon the Pinnacle Laboratory Services Report, Plaintiff Tyrell Curtis Erlebach was

      arrested.

86.   Plaintiff Tyrell Curtis Erlebach was released from jail, however in order to defend the

      charge that he violated the terms of his release on bond he was required to retain the

      services of Willamette Valley Forensics, LLC to evaluate the Pinnacle Laboratory Services

      Report.

87.   As a direct and proximate result of the acts and omissions of the foregoing Defendants,

      Plaintiff Tyrell Curtis Erlebach has been barred from practicing his profession as a

      physician’s assistant.

88.   As a direct and proximate result of the acts and omissions of the foregoing Defendants,

      Plaintiff Tyrell Curtis Erlebach will sustain economic damages in the amount of

      $2,000,000 or such greater amount as may be proven at trial.

89.   As a direct and proximate result of the acts and omissions of the foregoing Defendants,

      Plaintiff Tyrell Curtis Erlebach will sustain economic damages in the amount of

      $3,000,000 or such greater amount as may be proven at trial.




                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 17
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 18 of 25



                                          CAUSES OF ACTION
                                       COUNT 1 - NEGLIGENCE
                                          Against: All Defendants
90.   Defendants Payette County, Payette County Sheriff’s Office, Payette County Sheriff Chad

      Huff, and John Does XI through XX had a non-delegable duty to Plaintiff Tyrell Curtis

      Erlebach and other similarly situated individuals to exercise due care in the process of

      overseeing the administration, analysis and reporting the results of court-ordered drug/urine

      tests.

91.   Notwithstanding the fact that Defendants Payette County, Payette County Sheriff’s Office,

      Payette County Sheriff Chad Huff and John Does XI through XX had a non-delegable duty

      to Plaintiff Tyrell Curtis Erlebach and other similarly situated individuals to exercise due

      care in the process of overseeing the administration, analysis and reporting the results of

      court-ordered drug/urine tests, attempted to delegate that duty to K & K Bail Bonds, d.b.a.

      K & K Treatment.

92.   K & K Bail Bonds posted bond for Plaintiff Tyrell Curtis Erlebach in State v. Erlebach,

      Payette County Case Number CR 2016-0154.

93.   Plaintiff Tyrell Curtis Erlebach was ordered to undergo Court ordered random drug testing

      as a condition of his release on bond in State v. Erlebach, Payette County Case Number CR

      2016-0154.

94.   K & K Treatment contracted with Defendant Pinnacle Laboratory Services and Defendant

      Millennium Health LLC for those Defendants to analyze and report on random urine/drug

      tests administered to its clients, including Plaintiff Tyrell Curtis Erlebach.




                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 18
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 19 of 25



95.   It is well known in the scientific community that drug/urine testing must be carefully

      administered, analyzed and reported and the administration and analysis of such tests must

      comply with applicable scientific standards because of the risk of false positives which

      cannot, amongst other things, result in injury to the reputation, freedom and liberty interests

      of those tested.

96.   It was foreseeable that to these Defendants that the failure to exercise due care in the

      process of administration, analysis and reporting the results of court-ordered drug/urine

      tests potentially could have devastating consequences for the individual tested if false

      positives were reported, including, but not limited to loss of reputation and liberty.

97.   Defendant Pinnacle Laboratory Services, Defendant Millennium Health LLC, and John

      Does I through X had a duty to Plaintiff Tyrell Curtis Erlebach and other similarly situated

      individuals to use reasonable care to apply generally accepted scientific standards to the

      administration, analysis and reporting of drug/urine tests to prevent the reporting of false

      positives.

98.   Defendants Payette County, Payette County Sheriff’s Office, Payette County Sheriff Chad

      Huff, and John Does XI through XX had a duty to Plaintiff Tyrell Curtis Erlebach and

      other similarly situated individuals to use reasonable care to select and monitor individuals

      and entities performing random drug/urine testing to make sure that they were applying

      generally accepted scientific standards to the administration, analysis and reporting of

      drug/urine tests to prevent the reporting of false positives.

99.   Defendant Pinnacle Laboratory Services and/or Defendant Millennium Health LLC and/or

      and John Does I through X had a duty, as a contracting party with K & K Treatment, to

      exercise reasonable care in the performance of its duties.


                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 19
        Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 20 of 25



100. Defendant Pinnacle Laboratory Services and/or Defendant Millennium Health LLC and/or

     and John Does I through X were in the best position to prevent false positives, and

     therefore had a duty to ensure against false positives that could result in profound

     consequences for a test subject.

101. Defendant Pinnacle Laboratory Services and/or Defendant Millennium Health LLC and/or

     and John Does I through X did not exercise reasonable care and failed to adhere to

     applicable scientific standards applicable to the analysis and reporting of Plaintiff Tyrell

     Curtis Erlebach’s urine sample.

102. Defendant Pinnacle Laboratory Services and/or Defendant Millennium Health LLC and/or

     and John Does I through X did not exercise reasonable care and failed to adhere to

     applicable scientific standards when they reported Plaintiff’s false positive result to K & K

     Treatment.

103. Alisha Phillips, FNP, was the authorized healthcare provider specified by can K & K

     Treatment on its contracts with Defendant Pinnacle Laboratory Services and Defendant

     Millennium Health LLC.

104. Alisha Phillips, FNP, was designated as “Doctor” on the Pinnacle Laboratory Services

     Report.

105. Upon information and belief, Defendant Pinnacle Laboratory Services and/or Defendant

     Millennium Health LLC and/or and John Does I through X failed to take appropriate steps

     to make sure that Alessia Phillips, FNP, and K & K Treatment took whatever steps were

     necessary to collect, safeguard, protect and ship the urine samples from Plaintiff Tyrell

     Curtis Erlebach and other similarly situated individuals.




                                        COMPLAINT AND DEMAND FOR JURY TRIAL - 20
        Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 21 of 25



106. Upon information and belief, Defendant Pinnacle Laboratory Services and/or Defendant

     Millennium Health LLC and/or and John Does I through X failed to take appropriate steps

     to make sure that Alessia Phillips, FNP, appropriately authorized and reviewed the reports

     of urine samples from Plaintiff Tyrell Curtis Erlebach and other similarly situated

     individuals.

107. Alternatively, and alleged here and at this time only because of the imminent running of the

     statute of limitations based upon the false positive report issued on April 18, 2016

     regarding Plaintiff Tyrell Curtis Erlebach’s urine sample, Plaintiff Tyrell Curtis Erlebach

     alleges that in the unlikely event that the false positive report and/or the misinterpretation

     of his urine sample and/or the failure to warn the appropriate authorities responsible for

     revoking Plaintiff Tyrell Curtis Erlebach’s release on bond are not attributable to the

     negligence of Defendant Pinnacle Laboratory Services and/or Defendant Millennium

     Health LLC and/or and John Does I through X, then false positive report and/or the

     misinterpretation of his urine sample and/or the failure to warn are attributable to the acts

     or omissions of Alessia Phillips and/or K & K Treatment.

108. Defendants Payette County, Payette County Sheriff’s Office, Payette County Sheriff Chad

     Huff, and John Does XI through XX breached their duty to Plaintiff Tyrell Curtis Erlebach

     and other similarly situated individuals by failing to exercise due care in the process of

     overseeing the administration, analysis and reporting the results of court-ordered drug/urine

     tests.

109. Due to these Defendants’ breaches of duty, Plaintiff suffered damages including, but not

     limited to a loss of his freedom, liberty, and financial loss associated with the cost of an

     expert to evaluate and explain to the Idaho District Court Defendant Pinnacle Laboratory


                                      COMPLAINT AND DEMAND FOR JURY TRIAL - 21
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 22 of 25



     Services and/or Defendant Millennium Health LLC failure to comply with scientific

     standards the result of which was to make the pinnacle laboratory services report

     unreliable.

110. Due to these Defendants’ breaches of duty, Plaintiff suffered emotional, financial and

     psychological harm.

              COUNT 2 – VIOLATION OF CIVIL RIGHTS UNDER 42 U.S.C. §1983
                             Against: All Governmental Defendants

111. Plaintiff incorporates the foregoing allegations by reference as though fully set forth herein

     in haec verba.

112. Plaintiff, as a citizen of United States, was entitled to due process to protect his liberty

     guaranteed under the 14th amendment of the United States Constitution

113. As a direct and proximate result of the negligence and/or intentional conduct of Dennis

     Stokes, Payette County Payette County Sheriff’s Office, Payette County Sheriff Chad

     Huff in his individual and official capacities, Payette County Commissioner Mark Shigeta

     in his individual and official capacities, Payette County Commissioner Larry Church in his

     individual and official capacities, Payette County Commissioner Carol Bruce in her

     individual and official capacities, Payette County Commissioner Georgia Hanigan in her

     individual and official capacities, Plaintiff Tyrell Curtis Erlebach was deprived of one or

     more rights protected under the amendments to the United States Constitution.

114. Payette County and the Payette County Sheriff’s Department/office had a policy or custom

     that deprived Plaintiff Tyrell Curtis Erlebach of his liberty and constitutional rights.




                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 22
         Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 23 of 25



115. That policy or custom consisted of lack of adequate training and supervision with respect to

     ensuring that random drug testing was properly administered, reliable, properly reported,

     and reliably reported.

116. As an example of the absolute unreliability of the procedures used for random drug testing,

     and of the governmental Defendants’ lack of adequate training, supervision, and deliberate

     indifference, the governmental Defendants failed to take any steps to ensure that random

     drug testing was scientifically reliable, as evidenced by exhibits three and four herein.

117. The unreliability of random drug testing using the methodologies reflected in this case

     would have been obvious to government Defendants had they not been deliberately

     indifferent to the adequacy of the testing involved, the unreliability of the results obtained

     reflected in the attached exhibits, and the constitutional rights of Plaintiff Tyrell Curtis

     Erlebach and other similarly situated individuals.

118. The lack of reliability of the testing procedures used that is evident in Exhibits 2, 3 and 4

     would be apparent to anyone exercising due diligence with respect to ensuring that the

     administration, analysis and reporting of drug/alcohol tests.

119. Either, the governmental Defendants recognized that the results of Plaintiff Tyler Tyrell

     Curtis Erlebach’s April 14, 2018 urine test did not evidence of violation of the conditions

     of his release on bond, in which case they were deliberately indifferent to ensuring that

     such tests were effective, accurate, reliable, and would not result in the deprivation of

     liberty of Plaintiff Tyrell Curtis Erlebach protected by the 14th amendment of the United

     States Constitution, or the governmental Defendants failed to recognize that said test was

     unreliable because they were deliberately indifferent to the need to understand whether or

     not such tests were accurate, and reliable.


                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 23
        Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 24 of 25



120. Whatever the governmental Defendants understood with respect to Defendant Pinnacle

     laboratory services analysis and reporting of the accuracy and reliability the results of

     Plaintiff Tyrell Curtis Erlebach’s April 14, 2016 drug/urine test, the governmental

     Defendants failed to implement adequate policies, customs and procedures, and failed to

     adequately train and supervise their employees and agents to ensure that Plaintiff Tyrell

     Curtis Erlebach and other similarly situated individuals were not deprived of their liberty

     and otherwise damaged as a result the governmental Defendants’ reliance on unreliable

     drug and urine testing.

121. This lack of supervision and training amounted to a deliberate indifference to Plaintiff’s

     constitutional rights as specified herein and as otherwise existing under the United States

     Constitution and its amendments.

122. The policy or custom consisting of a lack of adequate training and supervision and the

     deliberate indifference of the governmental Defendants was the moving force behind the

     violation of Plaintiff’s constitutional rights.

123. Due to these deprivations, Plaintiff Tyrell Curtis Erlebach has sustained damages as

     aforesaid.

WHEREFORE, PLAINTIFF PRAYS FOR THE FOLLOWING RELIEF:

       1. For judgment in the amount of $1,000,000 or such greater amount as may be proven

           at trial in compensation for his economic and non-economic damages;

       2. For punitive damages in the amount of $3,000,000.

       3. For such other and further relief as may be equitable in the premises.

Dated April 18, 2018.


                                       COMPLAINT AND DEMAND FOR JURY TRIAL - 24
        Case 1:18-cv-00173-BLW Document 1 Filed 04/18/18 Page 25 of 25




SEINIGER LAW OFFICES, P.A.



/s/ Wm Breck Seiniger, Jr.
Wm Breck Seiniger, Jr.
Attorneys for Plaintiff




                              COMPLAINT AND DEMAND FOR JURY TRIAL - 25
